                          EXHIBIT 3-B
                 BON Report Page(s)


Showing ECU's discrepancy in reporting Brixon's
        previous counseling/discipline




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  Social Security                       Confinnation:53144
  Date 'Received: 06/02/2014

  Last: BBJXON First: LINDA Middle:

  Type Nu
  Address:
  Primary P
  NP: N CRNA:             :        :
  Comment:

  Facility 1ntonnat1on;
  Facility: VIDANT MEDICAL CENTER
  Address: 2100 STANTONSBURG ROAD PO BOX 6028 GREENVILLE NC 27835 06028
  Phone: (252) 847-5246 0 Fax: 0
  Type of Facility: HOSPITAL
  Action Taken: TERMINATED


 Start Date of Employment: 06/07/1999   Ending Date: 05/30/2014
 Incident Date: Time:     Shift Worked: 7P • 7A
 Was Nurse Working overtime at time of incident: N
 Area of Practice at time of incident: MED SURG
 Has the nurse been counseled or disciplined for any prior practice issues: N
 Could licensee benefit from remedial education: N
                                                                                     I
 Did the Nurse acknowledge or accept responslblllty: N
 Were there any sytem issues Identified which may have contributed to the
 reported incident: N
 Has the nurse been employed at your facility for more than 2 years: Y
 Comment:

 Supervisor Information:
 Name: TONY WINSTEAD MSN, RN, CMNL
 Tltle: NURSE MANAGER
 Phone:                        Ext. 0 Secondary: 0 Ext. 0
 Supervisor Emall: tony.winstead@vidanthealth.com
 Is Supervisor Primary Contact: N

 Primary contact Information:
 Name: LINDA HOFLER SENIOR VP NURSE EXECUTIVE

 Phone::                         Ext. O Secondary: O Ext.
 Best time of day to reach primary contact: 8AM • 5PM
 Email: lhofler@vidanthealth.com
 Comment:

 Person Making Complaint:



httn ://10.0.0. 18 :8080/wow63/runapp                                                6/3/2014

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               ATTORNEY WORK PRODUCT/PRIVILEGED COMMUNICATION
                          INTERNAL WORKING NOTES

                             PERSONAULICENSURE DATA

 Name: Linda Leathers Brixon License type : RN Certificate#: 115824 Date of Birth:

 Address:             I t I I Greenville, NC 27858
 Cell#: IZ II         2 Email Address: 7 I     @hotmail.com Licensee home
 phone#: n/a
 Licensee graduated from Edgecombe Community College (AON) in 1991 and has
 been licensed in North Carolina since 1991, NC license expires August 31 , 2015
 Otner states of licensure and status: n/a Other license/listings: n/a
 Prior NCBON Action: n/a

                       EMPLOYMENT INFORMATION/HISTORY

Employer at time of reported event: Vidant Medical Center/Greenville, NC
Agency Contact- namenitle- phone#: Tony Winstead/Nurse Manager- (252) 847-
3155                                                                                         ~
Oates of employment: June 7, 1999 to May 30, 2014             Setting where incident;i
occurred: Hospital                                                                         .
Type of unit/practice: Medical-Surgical/Renal Previous counseling/disciplinary
actions for practice related issues: No O Yes [8] If Yes, specify: 9/3/10-Gave
Valium to wrong patient; 3/21/11 - Failed to participate in bedside shift report; failure to
round; failure to respond; inaccurate or false documentation.
Position held: direct patient care • RN
2 year employment history without practice issues [;83Yes □ No: If no, complete:
Agency/Employer Name I Dates of employment                   I Reason for separation
                              SYNOPSIS OF COMPLAINT

On September 22, 2014, the Board received an email with a public complaint from
Cynthia Avens. Ms. Avens alleged the Licensee neglected her daughter, K.W ., on the
the 7 p.m. to 7 a.m. shift May 9 to 10, 2014. She indicated this occurred in the
nephrology department at Vidant Medical Center in Greenville, NC.

The statement provided by Ms. Avens indicated the Licensee did not provide less
restrictive measures for her daughter before putting her in restraints. She also reported
she was told the monitor stopped giving readings of the vitals because the licensee did
not reconnect the monitor. Her daughter coded at 5:45 a.m. and died on May 10, 2014 at
1:02 p.m.                                                              •

After the complaint was assigned to the Investigator on September 29, 2014 various
telephone, fax and email exchanges occurred between the complainant and the
Investigator as the complainant provided additional details and concerns regarding the
Licensee and other staff.




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